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 1   Tatyana Evgenievna Drevaleva

 2   1099 Fillmore St., Apt. 5N, San Francisco, CA, 94115

 3   628-688-6167; tdrevaleva@gmail.com

 4   Plaintiff in Pro Per

 5                            THE UNITED STATES DISTRICT COURT

 6                                 FOR NORTHERN CALIFORNIA

 7

 8                                                )
                                                  )   Case No. 4:22-cv-00887-JST
 9    Tatyana Evgenievna. Drevaleva               )
                                                  )
10                                                )
                        Plaintiff,                )   Proposed Order.
11                                                )
                       vs.                        )    *MODIFIED*
12                                                )
        1) Mr. Denis Richard McDonough in his )       Courtroom 6 – 2nd Floor
13                                                )
         Official Capacity as an Secretary of the )   1301 Clay Street, Oakland, CA 94612
14                                                )
         U.S. Department of Veterans Affairs      )   District Judge: The Hon. Jon S. Tigar
15                                                )
        2) The United States of America           )
16                                                )
        3) The U.S. Department of Veterans        )
17                                                )
            Affairs                               )
18                                                )
                        Defendants.               )
19                                                )
                                                  )
20     Facility:                                  )
                                                  )
21     The New Mexico VA Health Care System )
                                                  )
22     1501 San Pedro Dr SE,                      )
                                                  )
23     Albuquerque, NM 87108                      )
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                             Proposed Order; case No. 4:22-cv-00887-JST
              Case 4:22-cv-00887-JST Document 35 Filed 05/31/22 Page 2 of 2



 1          GOOD CAUSE APPEARING THEREFORE, IT IS HEREBY ORDERED that

 2   Plaintiff’s Administrative Motion for an Order that Extends a Deadline to File an Opposition to
 3   AUSA Ms. Zack’s (as opposed to Defendants’ Secretary of the U.S. Department of VA Mr.
 4   McDonough’s, the U.S. Department of VA’s, and the U.S.A.’s) May 13, 2022 document (Doc.
 5   No. 22) named “DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DECLARE
 6   PLAINTIFF A VEXATIOUS LITIGANT”; the Civ. L.R. 7-11(a) is GRANTED.
 7          Plaintiff’s new deadline is June 10, 2022. Defendants may, but are not required to, file
                                                       a reply by June 17, 2022.
 8          IT IS SO ORDERED.
 9

10          May 31, 2022
            ______________________               _______________________________________
11          Date:                                The Honorable District Judge Jon S. Tigar.
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                             Proposed Order; case No. 4:22-cv-00887-JST
